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                           EXHIBIT P
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From:                       Zeke DeRose III <Zeke.DeRose@LanierLawFirm.com>
Sent:                       Thursday, November 16, 2023 10:07 PM
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Subject:                    Re: Notices:             and
Attachments:                2023.11.03 - Cross Notice of Deposition -                   (2).pdf



Dan,

It was good talking with you on Friday.

       The depositions of Mr.           (noticed on 7/19/23), Mr.            (noticed on 8/17/23),
Mr.         (noticed on 8/3/23), and Mr.         (originally cross-noticed 8/02/23, then amended
on 10/30/23) were cross-noticed by the State Plaintiffs before the States Plaintiffs were
remanded from the MDL and will accordingly count toward any limitation count of depositions
attributable to the State Plaintiffs in EDTX.

       The State Plaintiffs did not participate in cross noticing any other deponents and
specifically did not cross-notice Mr.      on November 3, 2023. As you are aware, the Texas
v. Google case was remanded on November 1, 2023 and at that point the State Plaintiffs were


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no longer part of the MDL, no longer part of the Discovery Steering Committee for the MDL,
and did not sign onto the MDL Plaintiffs’ cross notice of Mr.     .

       Although the MDL Plaintiffs elected to cross-notice Mr.         , the State Plaintiffs did
not (see attached cross-notice from the remaining members of the MDL Discovery Steering
Committee (Phil Korologos, Serina Vash, and Jordan Elias). When Google asked on the
afternoon of November 9, 2023 who from the State Plaintiffs would be participating/attending
the         deposition, I emailed you and Google and at 2am ET “to quickly point out that the
State Plaintiffs (EDTX) were not part of the MDL Plaintiffs’ cross-notice for Mr.         as the
cross-notice was issued post-remand and the State Plaintiffs did not issue the Notice of
Deposition nor sign on to the Notice.” I also brought this issue up during the meet and confer
later that morning.

       So, your characterization that the State Plaintiffs “claim not to be part of the MDL
Plaintiffs’ cross-notice of Mr.         ” is very odd phrasing as the fact of the matter is that the
State Plaintiffs simply are not part of the MDL and did not sign on to the cross notice. The MDL
Plaintiffs (including the State Plaintiffs) have made it clear in correspondence with Google that
“based on material developments in litigation, including upon Google’s production of additional
documents or Plaintiffs’ assessment of its recent privilege logs” it was not practicable to take
certain depositions. This is the case, for example, for Mr.         , Ms.        , etc., as well as the
case for the State Plaintiffs for Mr.          . The fact of the matter is that Google has produced
some 9.9 million pages of documents since September 1, 2023 and as Google and Axinn is aware
there have been significant issues with the State Plaintiffs’ ability to even access the majority
of those documents.

       The State Plaintiffs have been and will continue to be accommodating Google in
coordinating depositions with the other Plaintiffs to minimize the burden on Google wherever
reasonably possible. However, our ability to do so is dependent on Google timely producing
relevant documents prior to the deposition. Google has failed to do so and now attempts to
blame the State Plaintiffs for Google’s failings. Google’s attempt to reframe the conversation
into a “it’s your fault not ours” is really quite astonishing and brazen.

       Google, not the State Plaintiffs, failed to review over 16 million documents it collected
for production. Google then failed to timely produce the documents. Indeed, millions of
documents are just now being received and ingested as Google, not the State Plaintiffs, decided
to provide the documents to the DOJ before us. In addition to the documents being untimely
produced (and still being produced), Google’s production had voluminous technical issues that
hinder review. Further, Google has made no representations that the discovery ordered by
Judge Castel three weeks ago on October 23, 2023 is completed. These failures do not even
include the issues of Google’s deficient privilege log and its over-redacting/withholding
addressed in our pending November 12, 2023 letter. (I will note that the 250,000 entries on the
Google’s initial privilege log was served before Google’s 16 million document discovery failure
discussed above and before Google reviewed and produced the majority of its documents
produced to date. We assume, based on Google’s past conduct and Judge Donato’s “forming deep
concern that there is an ingrained systemic culture of suppression of relevant evidence” that
Google’s follow-up privilege log will be of Epic proportions.)

       Accordingly, we decline Google’s demand that the State Plaintiffs either (i) depose
witnesses before Google satisfies even its basic discovery obligations or (ii) somehow are at
“risk” of not being able to take depositions when Google finally substantially completes its
production and with sufficient time for the sovereigns to review and prepare. Whether another
Plaintiff decides to take a deposition is of no moment. None of this changes the fact that Google’s
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discovery failures and substantial withholding of documents have impacted the schedule in
which the sovereign states can adequately take a deposition to prosecute its claims on behalf of
its citizens.

       We will address this issue with Judge Jordan on November 20, 2023 as it has been raised
in both parties’ status reports.

Zeke
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Subject: RE: Notices:           and


Zeke,

During our call on Friday, you indicated that State Plaintiffs take the position that the previously noticed
depositions of Mr.        , Mr.         , Mr.        and Mr.          will all count as depositions taken in the
EDTX matter.

We understand State Plaintiffs to take a different position as to Mr.          ’s deposition on November 17 on
the grounds that State Plaintiffs claim not to be part of the MDL Plaintiffs’ cross-notice of Mr.       . To
the extent State Plaintiffs take the position that they have preserved the right (or otherwise have the right)
to depose Mr.           at another time in the EDTX matter, we disagree with that position. If State Plaintiffs
choose not to participate in Mr.          ’s deposition on November 17, they do so at their own risk.




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Subject: RE: Notices:            and

Zeke,

Do you have time today at 4:15 pm ET or after to talk? If so, let me know where I can best reach you.


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sprovazza@riag.ri.gov; jennifer.coronel@ilag.gov; JHarrison@oag.state.va.us
Subject: Re: Notices:            and


Caution:External Email




Daniel,

Thank you for your email. I wanted to quickly point out that the State Plaintiffs (EDTX) were not part
of the MDL Plaintiffs’ cross-notice for Mr.         as the cross-notice was issued post-remand and the
State Plaintiffs did not issue the Notice of Deposition nor sign on to the Notice.

I am happy to get on a call to discuss if helpful.

Have a great weekend.

Zeke




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   Case 4:20-cv-00957-SDJ Document 379-4 Filed 04/16/24 Page 8 of 14 PageID #: 10597
Zeke DeRose III - Attorney p: 713-659-5200 w: www.LanierLawFirm.com


From: "Bitton, Daniel S." <dbitton@axinn.com>
Date: Thursday, November 9, 2023 at 12:33 PM
To: "Wolin, Michael (ATR)" <Michael.Wolin@usdoj.gov>, "Freeman, Michael (ATR)"
<Michael.Freeman@usdoj.gov>, "Gudzowski, Milosz (ATR)" <Milosz.Gudzowski@usdoj.gov>,
"Tyler.Garrett@freshfields.com" <Tyler.Garrett@freshfields.com>, "Eric.MAHR@freshfields.com"
<Eric.MAHR@freshfields.com>, "Julie.Elmer@freshfields.com" <Julie.Elmer@freshfields.com>,
"Andrew.Ewalt@freshfields.com" <Andrew.Ewalt@freshfields.com>, "rob.mccallum@freshfields.com"
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"Jeanette.Bayoumi@freshfields.com" <Jeanette.Bayoumi@freshfields.com>, "Xiaoxi.Tu@freshfields.com"
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Koren W." <kwongervin@axinn.com>, "Kkdunn@paulweiss.com" <Kkdunn@paulweiss.com>,
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"Thomas.ray@oag.texas.gov" <Thomas.ray@oag.texas.gov>, "ccoslett@bm.net" <ccoslett@bm.net>,
"gzelcs@koreintillery.com" <gzelcs@koreintillery.com>, "Pkorologos@BSFLLP.com"
<Pkorologos@BSFLLP.com>, "mmao@BSFLLP.com" <mmao@BSFLLP.com>, "iearnhardt@BSFLLP.com"
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Cc: "Teitelbaum, Aaron (ATR)" <Aaron.Teitelbaum@usdoj.gov>, "Wood, Julia (ATR)"
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   Case 4:20-cv-00957-SDJ Document 379-4 Filed 04/16/24 Page 9 of 14 PageID #: 10598

"Elizabeth.Maxeiner@ilag.gov" <Elizabeth.Maxeiner@ilag.gov>, "ayme.weber@azag.gov"
<ayme.weber@azag.gov>, "amy.hanson@atg.wa.gov" <amy.hanson@atg.wa.gov>,
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<Douglas.L.Davis@wvago.gov>, "joseph.conrad@nebraska.gov" <joseph.conrad@nebraska.gov>,
"jmarx@ncdoj.gov" <jmarx@ncdoj.gov>, "jmcghee@ncdoj.gov" <jmcghee@ncdoj.gov>,
"kchoksi@ncdoj.gov" <kchoksi@ncdoj.gov>, "tyler.arnold@atg.wa.gov" <tyler.arnold@atg.wa.gov>,
"kate.iiams@atg.wa.gov" <kate.iiams@atg.wa.gov>, "'colin.snider@nebraska.gov"
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<jennifer.coronel@ilag.gov>, "JHarrison@oag.state.va.us" <JHarrison@oag.state.va.us>
Subject: RE: Notices:           and

Counsel,

In light of a pre-existing commitment late in the day on Thursday of next week, Mr.        needs to wrap
things up by 5:30 pm ET that day. Let’s therefore start his deposition on Thursday at 8:30 a.m. ET. The
address for the deposition on Thursday and Friday is Axinn’s office at 114 West 47th Street, between 6th
and 7th avenues, 22nd floor. Please let us know who will be attending for the EDVA and SDNY/EDTX
Plaintiffs.


Daniel S. Bitton
Partner




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Pronouns | He, Him, His




From: Bitton, Daniel S. <dbitton@axinn.com>
Sent: Friday, November 3, 2023 6:28 PM
To: Wolin, Michael (ATR) <Michael.Wolin@usdoj.gov>; Freeman, Michael (ATR) <Michael.Freeman@usdoj.gov>;
Gudzowski, Milosz (ATR) <Milosz.Gudzowski@usdoj.gov>; Tyler.Garrett@freshfields.com;
Eric.MAHR@freshfields.com; Julie.Elmer@freshfields.com; Andrew.Ewalt@freshfields.com;
rob.mccallum@freshfields.com; lauren.kaplin@freshfields.com; Jeanette.Bayoumi@freshfields.com;
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Thomas.ray@oag.texas.gov; ccoslett@bm.net; gzelcs@koreintillery.com; Pkorologos@BSFLLP.com;
mmao@BSFLLP.com; iearnhardt@BSFLLP.com; jelias@girardsharp.com; hkelston@ahdootwolfson.com;
tmaya@ahdootwolfson.com; sdavidson@rgrdlaw.com; svash@hermanjones.com; jthorne@kellogghansen.com;
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                                                     8
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Cornillie' <Henry.Cornillie@doj.ca.gov>; Paula Blizzard <Paula.Blizzard@doj.ca.gov>; bryn.williams@coag.gov;
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'colin.snider@nebraska.gov; zach.biesanz@ag.state.mn.us; evansj@michigan.gov; mertenss@michigan.gov;
sprovazza@riag.ri.gov; jennifer.coronel@ilag.gov; JHarrison@oag.state.va.us
Subject: RE: Notices:            and

Counsel,

Mr.         ’s deposition will take place at Axinn’s NY office.


Daniel S. Bitton
Partner




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Pronouns | He, Him, His




From: Wolin, Michael (ATR) <Michael.Wolin@usdoj.gov>
Sent: Friday, November 3, 2023 12:19 PM
To: Bitton, Daniel S. <dbitton@axinn.com>; Freeman, Michael (ATR) <Michael.Freeman@usdoj.gov>; Gudzowski,
Milosz (ATR) <Milosz.Gudzowski@usdoj.gov>; Tyler.Garrett@freshfields.com; Eric.MAHR@freshfields.com;
Julie.Elmer@freshfields.com; Andrew.Ewalt@freshfields.com; rob.mccallum@freshfields.com;
lauren.kaplin@freshfields.com; Jeanette.Bayoumi@freshfields.com; Xiaoxi.Tu@freshfields.com;
Craig.Reilly@ccreillylaw.com; Wong-Ervin, Koren W. <kwongervin@axinn.com>; Kkdunn@paulweiss.com;
jrhee@paulweiss.com; wisaacson@paulweiss.com; Zeke.DeRose@lanierlawfirm.com; jaz@kellerpostman.com;
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                                                        9
  Case 4:20-cv-00957-SDJ Document 379-4 Filed 04/16/24 Page 11 of 14 PageID #: 10600
fisquith@zsz.com; kmbaxter-kauf@locklaw.com; pmarkert@cerallp.com; emaier@kellogghansen.com;
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<Michael.Wolin@usdoj.gov>
Subject: RE: Notices:            and


Caution:External Email




Daniel,

We agree to take Mr.         ’s deposition in New York City on November 16. Please advise as to the specific location
as soon as you can.

Regards,
Michael Wolin


Michael Wolin (he/him)
Trial Attorney
United States Department of Justice
Antitrust Division | Transportation, Energy, and Agriculture Section
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From: Bitton, Daniel S. <dbitton@axinn.com>
Sent: Friday, November 3, 2023 1:55 PM
To: Freeman, Michael (ATR) <Michael.Freeman@usdoj.gov>; Gudzowski, Milosz (ATR)
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                                                          10
  Case 4:20-cv-00957-SDJ Document 379-4 Filed 04/16/24 Page 12 of 14 PageID #: 10601
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Cc: Teitelbaum, Aaron (ATR) <Aaron.Teitelbaum@usdoj.gov>; Wood, Julia (ATR) <Julia.Tarver.Wood@usdoj.gov>;
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jennifer.coronel@ilag.gov; JHarrison@oag.state.va.us
Subject: [EXTERNAL] RE: Notices:             and

Michael,

Mr.         can make himself available for a deposition on November 16 in New York.


Daniel S. Bitton
Partner




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Pronouns | He, Him, His




From: Freeman, Michael (ATR) <Michael.Freeman@usdoj.gov>
Sent: Wednesday, November 1, 2023 2:30 PM
To: Gudzowski, Milosz (ATR) <Milosz.Gudzowski@usdoj.gov>; Tyler.Garrett@freshfields.com;
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Xiaoxi.Tu@freshfields.com; Craig.Reilly@ccreillylaw.com; Bitton, Daniel S. <dbitton@axinn.com>; Wong-Ervin, Koren
W. <kwongervin@axinn.com>; Kkdunn@paulweiss.com; jrhee@paulweiss.com; wisaacson@paulweiss.com;
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  Case 4:20-cv-00957-SDJ Document 379-4 Filed 04/16/24 Page 13 of 14 PageID #: 10602
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Please see the attached notices.



Thanks.



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Pronouns: He, Him, His


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